Case 1:25-mj-00144-WEF                            Document 13                 Filed 03/05/25                 Page 1 of 1 PageID# 31

AO 470(8/85] Order of Temporary Detention




                            UNITED STATES DISTRICT COURT


                                            EASTERN DISTRICT OF VIRGINIA




UNITED STATES OF AMERICA



                      V.                                                         ORDER OF TEMPORARY DETENTION
                                                                                 PENDING HEARING PURSUANT TO
                                                                                 BAIL REFORM ACT




                                                                                 CASE NO.




           Upon motion of the United States Government, it is hereby ORDERED that

a   detention hearing is set for                                J_0 2^                             at 2. OT)jp                          before
the Honorable William E. Fitzpatrick. United States Magistrate Judge in Courtroom 5M
                                              Name of Judicial Officer


located at 401 Courthouse Square. Alexandria, Virginia. Pending this hearing, the
                                              Location of Judicial Officer


defendant shall be held in custody by the United States Marshal

(                                                                                            )and produced for the hearing.
                       Other Custodial OfTicial




Date:                        ^
                                                                                                                .ludicigl Officer



*lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of the Govenimenl,
or up to five days upon motion of the defendant. 18 U.S.C. § 3142(0(2)-
         A hearing is required whenever the conditions set forth in 18 U.S.C § 3142(0 arc present. Subsection (I)sets forth the grounds that
may he asserted only by the attorney for the Government; sub-scction (2)stales that a hearing is mandated upon Die motion olThc attorney for the
Government or upon the judicial officer's own motion if there is a serious risk lliai the defcndanl (a) will llee or (b) will obstruct or attempt to
obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or imimidaie a prospective witness or juror,
